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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                              MIAMI DIVISION

                                                  CASE NO.:

  D.R, a minor, by and through his mother,
  natural guardian and next friend,
  HEATHER RIALE,
          Plaintiff,
  v.

  CARNIVAL CORPORATION,
  a Panamanian Corporation d/b/a
  CARNIVAL CRUISE LINES,

        Defendant.
 __________________________________/


                         COMPLAINT AND DEMAND FOR JURY TRIAL

        D.R., a minor, by and through his mother, natural guardian and next friend Heather Riale,

 , a citizen and resident of the State of Texas, sues Defendant CARNIVAL CORPORATION, a

 Panamanian corporation with its principal place of business in the State of Florida, d/b/a

 CARNIVAL CRUISE LINES, and alleges:

                                   JURISDICTION, VENUE AND PARTIES

        1.        This is an action for damages in excess of seventy-five thousand ($75,000.00)

 dollars, exclusive of interest and costs.

        2.        The minor D.R. is a permanent resident of Texas. He is proceeding in this case

 through his mother, natural guardian and next friend, HEATHER RIALE, who is also a permanent

 resident of Texas.




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         3.      Defendant CARNIVAL CORPORATION (CARNIVAL) is a Panamanian

 corporation with its principal place of business in Miami, Miami-Dade County, Florida. At all

 material times Defendant CARNIVAL CORPORATION has done business under the fictitious

 name “CARNIVAL CRUISE LINES.” For federal jurisdictional purposes, CARNIVAL is both a

 citizen of Panama and a citizen of Florida.

         4.      Subject matter jurisdiction exists, based on diversity of citizenship pursuant to 28

 U.S.C. §1332(a) (2). As alleged above there is complete diversity in citizenship of the parties

 because Plaintiff is and at all material times has been a citizen and resident of the State of Texas,

 while Defendant CARNIVAL is a citizen both of Panama and of Florida for jurisdictional

 purposes. The amount of damages claimed exceeds the minimum jurisdictional amount required

 for diversity of citizenship cases, and is supported by the injuries alleged in Paragraph 13 below,

 including a broken elbow.

         5.      At all material times, Defendant CARNIVAL has had its principal place of business

 in Florida and has conducted ongoing substantial and not isolated business activities in Miami-

 Dade County, Florida, creating continuous and systematic contacts with the State of Florida, such

 as operating maritime cruise vessels for paying passengers, including the Plaintiff, so that in

 personam jurisdiction exists in the United States District Court for the Southern District of Florida.

         6.      In the operative ticket contract, CARNIVAL requires fare paying passengers such

 as the Plaintiff to bring any lawsuit against CARNIVAL arising out of injuries or events occurring

 on the cruise voyage in this federal judicial district.

         7.      The principal place of business of CARNIVAL is located in Miami-Dade County

 Florida. Accordingly, venue is proper in this Court.

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         8.      At all material times, Defendant CARNIVAL operated, managed, maintained and

 was in exclusive control of the passenger cruise vessel VALOR.

         9.      Plaintiff has complied with all conditions precedent to bringing this action

 including providing CARNIVAL a timely written notice of claim as required by the ticket contract,

 in addition to the injury's being reported to and documented by the ship's medical crew shortly

 after it occurred.

              LIABILITY AND DAMAGE ALLEGATIONS COMMON TO ALL COUNTS

         10.     At all material times, CARNIVAL was and has been engaged in the business of

 operating maritime cruise vessels for fare paying passengers and for this purpose operated, among

 other vessels, the M/S "VALOR.”

         11.     At all material times, Defendant Carnival operated, managed, maintained and was

 in exclusive control of the VALOR.

         12.     At all material times, the Plaintiff was a fare-paying passenger on board the

 VALOR and in that capacity was lawfully present on board CARNIVAL's vessel.

         13.     On or about October 15, 2019, Plaintiff was walking through a doorway on Deck

 10 when he tripped and fell on a metal threshold.

         14.     At all material times CARNIVAL knew or should have known that the metal

 threshold on which the Plaintiff tripped posed a tripping hazard for passengers walking over it due

 to its condition and the length of time the protruding metal condition had existed. Common sense

 dictates that a metal threshold which extends from the ground can create a tripping hazard that

 would be apparent to all Carnival crewmembers as they routinely clean the floors in the area at

 least once a day. Additional evidence of notice comes from:

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        a. Safety Minute notes for August 2015 indicate crewmember knowledge that passengers

 are likely to be injured due to several listed causes, including thresholds not normally found on

 land resorts. (Composite Exhibit A at 3).

        b. As a result of Carnival’s knowledge that thresholds pose a trip and fall hazard for

 passengers, Carnival specifically tracks trip and fall accidents that occur on thresholds.

 (Composite Exhibit A at 1)

        c. Other Safety Minute meetings demonstrate a Carnival policy of advising passengers and

 crew to “be mindful of thresholds when walking around.” (Composite Exhibit A at 2).

        15.     As a direct and proximate result of the fall described in the preceding paragraphs,

 the Plaintiff was injured in and about his body and extremities, including a broken elbow and

 suffered pain therefrom, and sustained mental anguish, disfigurement, disability and the inability

 to lead a normal life. Furthermore, she incurred medical, hospital, and other out of pocket and

 health care expenses in the past and future as a result of her injuries. The Plaintiff has suffered lost

 wages and benefits in the past. In addition, Plaintiff has also experienced a loss of future earnings

 and a reduction in her overall benefits and her retirement benefits. She has also sustained

 activation or aggravation of preexisting injuries. These damages are permanent or continuing in

 their nature and the Plaintiff will continue to sustain and incur these damages in the future.

                      COUNT I – NEGLIGENT FAILURE TO CORRECT

                                 KNOWN DANGEROUS CONDITON

        16.     The Plaintiff adopts, re-alleges, and incorporates by reference the allegations of

 Paragraphs 1 through 15 above and further alleges the following matters:



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          17.   At all material times, CARNIVAL owed the Plaintiff, as a fare-paying passenger

 lawfully on board a passenger vessel it operated, a duty of reasonable care, including the duty to

 take reasonable steps to maintain the onboard metal thresholds within the common areas on the

 VALOR in a condition reasonably safe for passenger use.

          18.   At all material times, the onboard metal threshold in question on the VALOR over

 which the Plaintiff tripped as described in Paragraph 13 was in a foreseeably high traffic area due

 to its being used by passengers to travel to and from their cabins.

          19.   At all material times CARNIVAL knew or should have known that the onboard

 metal threshold referenced in Paragraph 13 above was in a condition unreasonably dangerous for

 passengers due to metal protruding from it and its being in a foreseeably high traffic area as alleged

 above.

          20.   Notwithstanding CARNIVAL’s actual or constructive knowledge of the dangerous

 condition of the onboard metal threshold referenced above, CARNIVAL failed at all material times

 before the Plaintiff tripped and fell on the threshold to correct or compensate for its dangerous

 condition by replacing or repairing it, redirecting passengers to other routes to their cabins, guiding

 or assisting passengers to their cabins, or otherwise, and was thereby negligent.

          21.   As a direct and proximate result of CARNIVAL’s negligence as described above,

 the Plaintiff tripped on the onboard metal threshold and fell as described in Paragraph 13 above

 and as a proximate result has sustained and will continue in the future to sustain the damages

 alleged in Paragraph 15 above.

          WHEREFORE, the Plaintiff demands judgment against the Defendant CARNIVAL for

 compensatory damages and the costs of this action.

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                         COUNT II – NEGLIGENT FAILURE TO WARN

          22.   The Plaintiff adopts, re-alleges, and incorporates by reference the allegations of

 Paragraphs 1 through 15 above and further alleges the following matters:

          23.   At all material times, CARNIVAL owed the Plaintiff, as a fare-paying passenger

 lawfully on board a passenger vessel it operated, a duty of reasonable care, including the duty to

 take reasonable steps to warn passengers including the Plaintiff of onboard tripping hazards such

 as the onboard mental threshold referenced in Paragraph 13 above.

          24.   At all material times, the onboard metal threshold on the VALOR the Plaintiff

 tripped on as described in Paragraph 13 above was in a foreseeably high traffic area due to its

 being used by passengers to return to their cabins.

          25.   At all material times CARNIVAL knew or should have known that the onboard

 metal threshold referenced in Paragraph 13 above was in a condition unreasonably dangerous for

 passengers due to protruding metal and due to it being in a foreseeably high traffic area as alleged

 above.

          26.   Notwithstanding CARNIVAL’s actual or constructive knowledge of the dangerous

 condition of the threshold referenced above, CARNIVAL failed at all material times before the

 Plaintiff tripped on the metal threshold to warn passengers including the Plaintiff of its unsafe

 condition through appropriate signage or markings, cordoning off the area, oral or written warnings

 or notices, or otherwise, and was thereby negligent.

          27.   As a direct and proximate result of CARNIVAL’s negligence as described above,

 the Plaintiff tripped over the threshold described in Paragraph 13 above, fell and as a proximate

 result has sustained and will continue in the future to sustain the damages alleged in Paragraph 15

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 above.

          WHEREFORE, the Plaintiff demands judgment against the Defendant CARNIVAL for

 compensatory damages and the costs of this action.

                           COUNT III – NEGLIGENT MAINTENANCE

          28.   The Plaintiff adopts, re-alleges, and incorporates by reference the allegations of

 Paragraphs 1 through 15 above and further alleges the following matters:

          29.   At all material times, CARNIVAL owed the Plaintiff, as a fare-paying passenger

 lawfully on board a passenger vessel it operated, a duty of reasonable care, including the duty to

 take reasonable steps to maintain the onboard metal thresholds within the common areas on the

 VICTORY in a condition reasonably safe for passenger use.

          30.   At all material times, the onboard metal threshold in question on the VALOR over

 which the Plaintiff tripped as described in Paragraph 13 was in a foreseeably high traffic area due

 to its being used by passengers to travel to and from their cabins.

          31.   At all material times CARNIVAL knew or should have known that the onboard

 metal threshold referenced in Paragraph 13 above was in a condition unreasonably dangerous for

 passengers due to metal protruding from it and its being in a foreseeably high traffic area as alleged

 above.

          32.   Notwithstanding CARNIVAL’s actual or constructive knowledge of the dangerous

 condition of the onboard metal threshold referenced above, CARNIVAL failed at all material times

 before the Plaintiff tripped and fell on the metal threshold to maintain the threshold adequately by

 repairing or replacing it, cordoning off the area, guiding or assisting passengers to their cabins, or

 otherwise, and was thereby negligent.

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        33.    As a direct and proximate result of CARNIVAL’s negligence as described above,

 the Plaintiff tripped on the onboard metal threshold and fell as described in Paragraph 13 above

 and as a proximate result has sustained and will continue in the future to sustain the damages

 alleged in Paragraph 15 above.

        WHEREFORE, the Plaintiff demands judgment against the Defendant CARNIVAL for

 compensatory damages and the costs of this action.

                                      DEMAND FOR JURY TRIAL

        The Plaintiff hereby demands trial by jury of all issues so triable as of right.

        Dated, this 14th day of March, 2022.

                                                      s/NICHOLAS I. GERSON
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